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 7                     IN THE UNITED STATES DISTRICT COURT FOR THE
 8                              EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           )                    1:07-cr-00192 AWI
                                         )
11                     Plaintiff,        )                    ORDER RE MOTION FOR
                                         )                    GRAND JURY INFORMATION
12         v.                            )
                                         )
13   DAVID CHAVEZ, JR,                   )
                                         )
14                     Defendant.        )
     ____________________________________)
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              On December 5, 2007, defendant David Chavez, Jr., through his attorney, J. Tony Serra,
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     filed a motion to disclose “the surnames of all the members of the grand jury who were involved
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     in issuing the indictment against the defendant in the instant case.” On March 26, 2008, the
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     government filed its opposition to the motion. On April 25, 2008, defendant filed his reply,
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     clarifying that he “seeks to inspect only the master list of the grand jury that issued the instant
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     indictment as well as all data relating to the constituency and method by which the grand jury
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     was selected.” On April 28, 2008, the motion was heard and taken under submission by the
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     court.
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              Having considered the motion and the relevant case authority, the court now grants the
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     defendant’s motion to the extent set forth below. The court notes that the 2006 JS-12 Report and
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     the 2006 qualified jury wheel encompass fiscal year October 1, 2006 to September 30, 2007.
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              Case 1:07-cr-00192-AWI Document 160 Filed 05/27/08 Page 2 of 2


 1          IT IS HEREBY ORDERED that the Clerk of the Court shall provide to defendant David
 2   Chavez, Jr.’s attorney, J. Tony Serra, the following information:
 3          1. A copy of the Jury Plan for the Eastern District of California that was in effect at the
 4   time of the selection of the relevant grand jury.
 5          2. A copy of the 2006 JS-12 Report.
 6          3. The 2006 qualified jury wheel.
 7          IT IS HEREBY FURTHER ORDERED that the 2006 qualified jury wheel shall be
 8   provided only to attorney J. Tony Serra. Attorney J. Tony Serra may disclose the 2006 qualified
 9   jury wheel only to members of his legal staff for the sole purpose of investigating and preparing a
10   fair cross section challenge in this case. The 2006 qualified jury wheel shall not be disclosed to
11   anyone else, including defendant David Chavez, Jr. or for any other purpose.
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13   IT IS SO ORDERED.
14   Dated:     May 23, 2008                             /s/ Anthony W. Ishii
     0m8i78                                        UNITED STATES DISTRICT JUDGE
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